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14
                                 UNITED STATES DISTRICT COURT
15
                              NORTHERN DISTRICT OF CALIFORNIA
16

17
     UNITED STATES OF AMERICA,
18
                           Plaintiff                           Case No. 25-cv-00951-PCP
19                  v.

20                                                             JOINT CASE MANAGEMENT
     HEWLETT PACKARD ENTERPRISE CO.                            STATEMENT & [PROPOSED]
21   and JUNIPER NETWORKS, INC.,                               ORDER

22
                           Defendants.
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                         JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                        Case No. 5:25-cv-00951-PCP
 1            Plaintiff United States of America and Defendants Hewlett Packard Enterprise Co.

 2   (“HPE”) and Juniper Networks, Inc. (“Juniper”), jointly submit this Joint Case Management

 3   Statement & Proposed Order pursuant to the Standing Order for All Judges of the Northern

 4   District of California and Civil Local Rule 16-9.

 5      I.       Jurisdiction & Service

 6            This Court has subject matter jurisdiction over this action under Section 15 of the Clayton

 7   Act, 15 U.S.C. § 25, as amended, to prevent and restrain Defendants from violating Section 7 of

 8   the Clayton Act, 15 U.S.C. § 18. Defendants consent to personal jurisdiction and venue in this

 9   Court. Counsel for Defendants, acting on behalf of Defendants, have accepted service of the

10   Complaint and have waived formal service of a summons.

11      II.      Facts

12            The Complaint makes the following factual allegations. The United States brings this

13   civil action to prevent HPE from acquiring its competitor, Juniper. The United States alleges

14   that HPE and Juniper are the second and third largest providers of commercial or “enterprise”

15   wireless networking solutions in the United States. The United States contends that the

16   acquisition, if consummated, would result in two companies—Cisco Systems, Inc. (“Cisco”) and

17   HPE—controlling over 70% of the U.S. market and eliminate fierce head-to-head competition

18   between Defendants, who offer enterprise-grade wireless networking solutions (“enterprise-

19   grade WLAN solutions”) under the HPE Aruba and Juniper Mist brands. According to the

20   United States, if consummated, the merger would extinguish head-to-head competition that has

21   lowered prices and driven investment in innovative network management software in violation of

22   Section 7 of the Clayton Act, 15 U.S.C. § 18.

23            Defendants contend that Plaintiff’s Complaint ignores that the WLAN space is highly

24   competitive, and is characterized by innovation and low entry barriers, with at least seven other

25   credible competitors with comparable offerings and capabilities to the parties. According to
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 1   Defendants, Plaintiff’s assertion that the transaction is motivated by a desire to consolidate the

 2   WLAN segment is entirely unsupported and inconsistent with the fact that WLAN is only a

 3   small part of the Defendants’ respective overall businesses. Defendants argue that the

 4   Transaction is motivated by a desire to combine two complementary businesses to enable the

 5   combined firm to bring new, more innovative, and more secure networking products to public

 6   and private sector customers in the U.S. and worldwide. Defendants assert that Plaintiff’s

 7   Complaint ignores these benefits that will result from the transaction as well as critical facts

 8   regarding the nature and extent of competition in the wireless networking space. Defendants

 9   contend that enjoining the transaction will reinforce the status quo across the networking space,

10   which has been dominated by Cisco for decades, and will deprive consumers and businesses of

11   the benefits of a combined company.

12      III.      Legal Issues

13             The following legal issues are in dispute:

14                A.      Whether HPE’s proposed acquisition of Juniper, if allowed to proceed, would

15                        violate Section 7 of the Clayton Act, 15 U.S.C. § 18, because the effect of it

16                        may be to substantially lessen competition in interstate trade and commerce in

17                        the market for enterprise-grade WLAN solutions in the United States;

18                B.      Whether enterprise-grade WLAN solutions is a properly defined relevant

19                        product market;

20                C.      Whether the United States is a properly defined relevant geographic market;

21                D.      Whether the acquisition will lead to anticompetitive effects in a properly

22                        defined market;

23                E.      Whether entry, expansion, and repositioning of other firms would be timely,

24                        likely, and sufficient in magnitude, character, and scope to deter or counteract

25                        the alleged anticompetitive effects of the acquisition;
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                           JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
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 1                F.      Whether merger-specific efficiencies and synergies sufficiently outweigh the

 2                        alleged anticompetitive effects of the acquisition; and

 3                G.      Whether the Court should preliminarily and permanently enjoin and restrain

 4                        Defendants and all persons acting on their behalf from consummating HPE’s

 5                        acquisition of Juniper or from entering into or carrying out any other contract,

 6                        agreement, plan, or understanding, the effect of which would be to combine

 7                        HPE and Juniper in the United States.

 8        IV.      Motions

 9              No motions are presently on file. Defendants reserve their rights to file dispositive

10    motions. The Parties anticipate filing one or more motions in limine and may file Daubert

11    motions.

12      V.        Amendment of Pleadings

13            Although the Parties do not intend to amend their pleadings, any amendment must be

14   filed on or before February 28, 2025. Defendants filed Answers to the Complaint on February

15   10, 2025.

16      VI.       Evidence Preservation

17            The Parties have reviewed the Guidelines Relating to the Discovery of Electronically

18   Stored Information and have met and conferred pursuant to Federal Rule of Civil Procedure 26(f)

19   regarding reasonable and proportionate steps taken to preserve evidence relevant to the issues in

20   this action. The Parties acknowledge that they have reviewed the Court’s Checklist regarding

21   Electronically Stored Information (“ESI”) and confirm that they will meet and confer to address

22   reasonable and proportionate steps, including developing a joint ESI protocol, to preserve

23   evidence relevant to the issues reasonably evident in this action.

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                          JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
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 1      VII.      Disclosures

 2          The Parties agree to waive the exchange of initial disclosures under Federal Rule of Civil

 3   Procedure 26(a)(1) and instead will exchange preliminary trial fact witness lists as provided in

 4   the proposed schedule in Paragraph XV.

 5      VIII. Discovery

 6                A.    Production of Documents, Data, and ESI

 7          The Parties will meet and confer to address the format and production of documents,

 8   data, and ESI, including any timelines regarding such productions, in a separate ESI protocol.

 9                B.    Proposed Discovery Plan

10          The Parties have met and conferred regarding a proposed discovery plan and agree on the

11   following:

12                1.    Definitions

13          For the purpose of this Order, “Party” means the Antitrust Division of the U.S.

14   Department of Justice, HPE, and Juniper.

15                2.    Discovery of Confidential or Highly Confidential Information

16          Discovery and production of Confidential or Highly Confidential information will be

17   governed by the Protective Order entered by the Court in this action. When sending discovery

18   requests, notices, and subpoenas to non-parties, the Parties must include copies of any Protective

19   Orders then in effect.

20                3.    Timely Service of Fact Discovery

21          All discovery, including discovery served on non-parties, must be served in time to

22   permit completion of responses by the close of fact discovery.

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                         JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
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 1              4.      Subpoenas to Non-Parties

 2          The Parties will in good faith cooperate with each other with regard to any discovery to

 3   non-parties in an effort to minimize the burden on non-parties. Each Party must serve a copy of

 4   any subpoena to a non-party on the other Parties at or before the time the subpoena is served on

 5   the non-party. The Parties agree to accept electronic service (by email) of a notice and copy of

 6   the subpoena. Every subpoena to a non-party shall include a cover letter requesting that: (a) the

 7   non-party stamp each document with a production number prior to producing it; (b) the non-

 8   party stamp any applicable confidentiality designation prior to producing it; and (c) the non-party

 9   provide to the other Parties copies of all productions at the same time as they are produced to the

10   requesting Party. To facilitate cooperation, a requesting Party will produce to all other Parties a

11   written record of any oral modifications to the subpoena and (unless already copied) all

12   substantive written communications concerning non-party subpoenas within 5 business days of

13   the oral or written communication, including objections, responses, agreements on extensions or

14   limitations, and accounts of productions received from non-parties.

15          If a non-party fails to provide copies of productions to the other side, the requesting Party

16   shall provide copies to the other Party, in the format the productions were received, within 5

17   business days after receipt of such materials from the non-party. In addition, if a non-party

18   produces documents or electronically stored information that are not Bates-stamped, the Party

19   receiving those materials will Bates-stamp such documents or electronically stored information

20   and produce such Bates-stamped copies to all Parties simultaneously within a timeframe

21   appropriate to the volume and complexity of the materials received. Production of the Bates-

22   stamped copies should not delay production of the non-Bates stamped versions to all Parties as

23   required in the first sentence of this paragraph.

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 1              5.      Written Discovery on Parties

 2                         a.      Document Requests

 3          There is no pre-determined limit on the number of requests for the production of

 4   documents that may be served by the Parties, but any requests must be proportional to the needs

 5   of the case as required by Federal Rule of Civil Procedure 26(b)(1).

 6          The Parties must serve any objections to requests for productions of documents within 7

 7   business days after the requests are served. Within 3 business days of service of any objections,

 8   the Parties must meet and confer to attempt to resolve any objections and to agree on search

 9   terms and custodians to be searched. The Parties must make good-faith efforts to make rolling

10   productions of responsive documents (to the extent not subject to any objections, search terms

11   negotiations, or custodian issues that have not been resolved), including any portion(s) of

12   responsive productions that are not subject to any objections or negotiations concerning the

13   method of production or custodians, beginning no later than 21 days after service of the request

14   for production. The Parties must make good-faith efforts to substantially complete responsive

15   productions no later than 28 days after service of the request for production. Should any

16   objections or negotiations concerning the method of production or custodians remain unresolved

17   for 14 days or more after service of the request for production, the Parties must make good-faith

18   efforts to complete such remaining responsive productions no later than 14 days after resolution

19   of such objections or negotiations.

20                         b.      Interrogatories

21          Interrogatories are limited to 12 (including discrete subparts) to Defendants collectively

22   by the United States and to 12 (including discrete subparts) to the United States collectively by

23   Defendants. The Parties must serve any objections to interrogatories within 7 business days after

24   the interrogatories are served. Within 3 business days of service of any objections, the Parties

25   must meet and confer to attempt to resolve the objections. The Parties must make good-faith
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                        JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
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 1   efforts to provide complete answers to interrogatories no later than 28 days after service of the

 2   interrogatories.

 3                      c.      Requests for Admission

 4          Requests for admission are limited to 20 by the United States to Defendants collectively

 5   and to 20 by Defendants collectively to the United States. Unless otherwise agreed, the Parties

 6   must make good faith efforts to respond in writing to requests for admissions no later than 28

 7   days after service of the requests.

 8              6.      Depositions

 9          The United States is limited to 25 depositions of fact witnesses, and the Defendants

10   collectively are limited to 25 depositions of fact witnesses. Depositions of a Party or third-party

11   organization may be taken by either Party under Federal Rule of Civil Procedure 30(b)(6) and

12   will count against the 25-deposition maximum. The United States may issue no more than one

13   (1) deposition notice under Rule 30(b)(6) to each Defendant (two total). Each seven-hour

14   deposition of a Party taken under Federal Rule of Civil Procedure 30(b)(6) counts as one

15   deposition for purposes of the side’s limit, regardless of the number of witnesses produced to

16   testify on the matters for examination in that deposition. For the avoidance of doubt, every non-

17   party deposition taken under Federal Rule of Civil Procedure 30(b)(6) counts as one deposition

18   for purposes of the side’s limit, regardless of whether the full seven hours afforded under Federal

19   Rule of Civil Procedure 30(d)(1) are used. Where a witness testifying on behalf of a Defendant

20   under Rule 30(b)(6) has also been noticed as a fact witness, the Parties shall confer regarding

21   whether it is reasonable to take both depositions on the same day or on consecutive business

22   days. The following depositions do not count against the deposition caps imposed in this

23   Paragraph: (a) depositions of any persons identified on a Party’s final fact witness list who were

24   not identified on that Party’s preliminary fact witness list; (b) depositions of the Parties’

25   designated expert witnesses; (c) depositions taken in response to Civil Investigative Demands
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 1   prior to January 30, 2025; (d) the 2-hours of deposition time afforded to non-noticing Parties in

 2   non-party depositions; (e) depositions taken for the sole purpose of establishing the location,

 3   authenticity, or admissibility of documents produced by any Party or non-party, provided that

 4   such depositions may be noticed only after the Party taking the deposition has taken reasonable

 5   steps to establish location, authenticity, or admissibility through other means, and further

 6   provided that such depositions must be designated at the time that they are noticed as being taken

 7   for the sole purpose of establishing the location, authenticity, or admissibility of documents; or

 8   (f) depositions of a non-party (including an employee of a non-party) to or with which a

 9   Defendant has made an offer, commitment, or agreement (including an agreement to divest or

10   license assets) to attempt to address the United States’ concerns about the Planned Transaction.

11          The Parties will use reasonable efforts to reduce the burden on witnesses (including

12   experts) noticed for depositions and to accommodate the witnesses’ schedules. Absent

13   extraordinary circumstances, the Parties and non-parties will consult in advance to schedule

14   depositions at mutually convenient times and places. Parties will make reasonable efforts to

15   make witnesses (including experts) available for deposition promptly upon notice. The Parties

16   will meet and confer in good faith regarding whether a deposition will be conducted virtually or

17   in-person. Depositions that are conducted in-person will take place in the locations where

18   witnesses reside or are employed, unless the noticing Party or Parties and the witness mutually

19   agree otherwise, subject to Paragraph XX.E of this Order. For any Party or non-party deposition

20   conducted virtually by agreement of the Parties or Court order, the deposition will take place by

21   videoconference. The court reporter will swear in the witness remotely by means of the

22   videoconference. No participants other than the court reporter, and videographer if applicable,

23   will record the deposition.

24          If a Party serves on a non-party a subpoena for production of documents or electronically

25   stored information and a subpoena commanding attendance at a deposition, the Party serving
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                        JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
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 1   those subpoenas must schedule the deposition for a date at least 7 business days after the return

 2   date for the document subpoena, unless all other Parties consent to fewer than 7 business days.

 3   In the event the Party serving the subpoenas agrees to extend the date of production for the

 4   document subpoena in a way that would result in fewer than 7 business days between the

 5   extended production date and the date scheduled for that non-party’s deposition, the date

 6   scheduled for the deposition must be postponed to be at least 7 business days following the

 7   extended production date, unless all other Parties consent to fewer than 7 business days. In the

 8   event that an opposing Party serves a separate subpoena on the same non-party and causes the

 9   date of production for that second document subpoena to result in fewer than 3 business days

10   between that production date and the date scheduled for that non-party’s deposition, the

11   originally noticing Party may at its sole discretion postpone the date scheduled for the deposition

12   for up to 3 business days following the second production date.

13          Depositions of fact witnesses are limited to no more than one (7-hour) day unless

14   otherwise stipulated. A Defendant noticing a deposition may cede some or all of its examination

15   time to another Defendant. During non-party depositions, the non-noticing side will receive at

16   least two hours of examination time. If a non-party deposition is noticed by both sides, then time

17   will be divided equally between the sides (i.e., 3.5 hours to Plaintiff and 3.5 hours collectively to

18   Defendants). Any time allotted to one side not used by that side in a non-party deposition may

19   not be used by the other side absent agreement from both sides.

20          Any Party may further depose any person whose deposition was taken pursuant to a Civil

21   Investigative Demand, and the fact that such person’s deposition was taken pursuant to a Civil

22   Investigative Demand may not be used as a basis for any Party to object to that person’s

23   deposition. Depositions taken of non-party witnesses pursuant to Civil Investigative Demands

24   may not be used at trial except for impeachment subject to the Federal Rules of Civil Procedure

25   and Federal Rules of Evidence.
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                         JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
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 1           Any objection made by any Party in a deposition preserves that objection for every Party.

 2           Notwithstanding any other part of this Paragraph, the Parties reserve their right to move

 3   for a protective order pursuant to Federal Rule of Civil Procedure 26(c)(1). The parties reserve

 4   the right to seek from the Court additional deposition time with particular witnesses or a different

 5   allocation of time than the allocations that are set forth within this Paragraph.

 6               7.      Supplemental Discovery

 7           Notwithstanding any other provision of this Order, each Party may issue supplemental

 8   deposition notices or deposition subpoenas, related to any person (including entities related to

 9   any such person) identified on a Party’s final trial fact witness list who was not identified on that

10   Party’s preliminary trial fact witness list within 3 calendar days of receipt of the final fact

11   witness list; provided, however, that no additional depositions may be sought from any person

12   who was previously deposed during this action.

13           Notwithstanding any other provision of this Order, depositions related to any person

14   (including entities related to any such person) identified on a Party’s final trial fact witness list

15   who was not identified on that Party’s preliminary trial fact witness list must be completed by the

16   close of supplemental discovery.

17               8.      Presumptions of Authenticity

18           Documents and data produced by Parties and non-parties from their own files will be

19   presumed to be authentic within the meaning of Federal Rule of Evidence 901. Any good-faith

20   objection to authenticity must be provided with the exchange of other objections to intended trial

21   exhibits. If the opposing side serves a specific good-faith written objection to authenticity, the

22   presumption of authenticity will no longer apply and the Parties will promptly meet and confer to

23   attempt to resolve any objection.

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                         JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
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 1          Notwithstanding any other deadlines in this Order, a Party may take limited discovery

 2   related to the authenticity of any document on that Party’s exhibit list to which the opposing side

 3   objects on the ground that such document is inauthentic.

 4               9.         Expert Witness Disclosures and Depositions.

 5           Expert disclosures, including each side’s expert reports, must comply with the

 6   requirements of Federal Rule of Civil Procedure 26(a)(2) and 26(b)(4), except as modified by

 7   this Paragraph.

 8          1.         Neither side must preserve or disclose, including in expert deposition testimony or

 9                     at trial, the following documents or information:

10                     a.          Any form of oral or written communications, correspondence, or work

11                                 product not relied upon by the expert in forming any opinions in their final

12                                 report shared between:

13                            i.           the expert and any persons assisting the expert;

14                           ii.           any Party’s counsel and its expert(s), or between any agent or

15                                         employee of any Party’s counsel and the Party’s expert(s);

16                          iii.           testifying and non-testifying experts and their own staff;

17                           iv.           non-testifying experts;

18                           v.            testifying experts; or

19                           vi.           staff assisting testifying or non-testifying experts on the same side.

20                     b.          The expert’s notes, except for notes taken by or reviewed by an expert of

21                                 an interview upon which the expert relied in forming any opinions in their

22                                 final report;

23                     c.          Drafts of expert reports, affidavits, or declarations;

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 1        d.      Data formulations, data runs, data analyses, or any database-related

 2                operations not relied upon by the expert in forming any opinions in their

 3                final report; and

 4        e.      Budgets, invoices, bills, receipts, or time records concerning testifying or

 5                non-testifying experts, their staff, assistants, colleagues, or associates, or

 6                their companies or organizations. Notwithstanding this provision, any

 7                Party may inquire into a testifying expert’s compensation in this matter,

 8                including the testifying expert’s hourly rates as well as the hourly or other

 9                rates charged by firms and personnel supporting the expert, the total hours

10                spent by the testifying expert and staff members in connection with this

11                case, and any other payments or consideration received by the testifying

12                expert or any firm or agents supporting the expert relating to work in the

13                case.

14                Notwithstanding the limitations contained in the paragraph immediately

15        above, an expert may be asked at a deposition or trial: (a) to identify and generally

16        describe what data, facts, algorithms, modeling, regression analyses and source

17        code the expert reviewed, investigated or considered but did not rely on or

18        otherwise use, and (b) to describe the reasons for reviewing—but not using or

19        relying on—any such data, facts, algorithms, modeling, analyses or source code.

20   2.   Testifying expert reports and declarations shall be served via email whenever

21        possible. If the files are too large, the Parties shall serve using a secure file

22        transfer, including ShareFile. Expert reports will include a list of all documents

23        (by Bates number), deposition testimony, data, articles, websites, and other

24        sources relied upon by the testifying expert(s) in forming any opinions in their

25        final reports, including Bates numbers of documents previously produced.
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 1          3.      The Parties agree that the following materials will be disclosed using a secure file

 2                  transfer, including ShareFile, one calendar day after the reports are served:

 3                  a.     Copies of all materials relied upon by the expert in forming any opinions

 4                         in their report that were not previously produced and that are not readily

 5                         available publicly;

 6                  b.     A list of all publications authored by the expert in the previous 10 years;

 7                  c.     Copies of all publications authored by the expert in the previous 10 years

 8                         that are not readily available publicly;

 9                  d.     A list of all other cases in which, during the previous 4 years, the expert

10                         testified at trial or by deposition, including tribunal and case number;

11                  e.     For all calculations appearing in the final report(s), all data and programs

12                         underlying the calculations, including all programs and codes necessary to

13                         replicate the calculations from the initial (“raw”) data files, and the

14                         intermediate working-data files that are generated from the raw data files

15                         and used in performing the calculations appearing in the final report and a

16                         written explanation of why any observations in the raw data were either

17                         excluded from the calculations or modified when used in the calculations

18                         (“Backup Materials”). For clarity, raw data files are data that exist in the

19                         ordinary course of business, and intermediate working-data files are data

20                         assembled or processed for purposes of litigation; and

21                  f.     A statement of the compensation to be paid to the testifying expert for

22                         their report and testimony in the case, which statement may appear in the

23                         testifying expert’s report.

24          Each expert will be deposed for only one 7-hour day, with all 7 hours reserved for the

25   side noticing the expert’s deposition provided, however, that counsel for a Party may
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                         JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
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 1   additionally take reasonable and appropriate redirect examination of that Party’s expert(s).

 2   Depositions of each side’s experts will be conducted only after disclosure of all expert reports

 3   and all materials identified above for all that side’s experts.

 4            The Parties shall not serve subpoenas or discovery requests upon any testifying or non-

 5   testifying expert. Instead, the Party proffering such testifying expert will: (a) be responsible for

 6   producing all materials and information required under this Order or to the extent not addressed

 7   in this Order, under the Federal Rules of Civil Procedure, for the testifying expert, and (b) upon

 8   request, make the testifying expert available for deposition at a time mutually agreed to by the

 9   Parties and consistent with the Court’s scheduling orders.

10      IX.      Class Actions

11            Not applicable.

12      X.       Related Cases

13            The Parties presently are not aware of any related cases before another judge of this

14   Court, or before another court or administrative body.

15      XI.      Relief

16            The United States requests that the Court: (a) adjudge and decree that HPE’s proposed

17   acquisition of Juniper would be unlawful and violate Section 7 of the Clayton Act, 15 U.S.C.

18   § 18; (b) preliminarily and permanently enjoin and restrain Defendants and all persons acting on

19   their behalf from consummating HPE’s acquisition of Juniper or from entering into or carrying

20   out any other contract, agreement, plan, or understanding, the effect of which would be to

21   combine HPE and Juniper in the United States; (c) award the United States the costs of this

22   action; and (d) award the United States other relief that the Court deems just and proper.

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 1       XII.     Settlement and ADR

 2            The Parties do not believe there is a realistic possibility of settling this case at this time.

 3   The Parties will comply with ADR Local Rule 3-5 and any Orders of the Court setting forth

 4   ADR-related deadlines.

 5       XIII. Other References

 6            The Parties do not believe that other references are appropriate at this time.

 7       XIV. Narrowing of Issues

 8            The Parties have not identified issues that can be narrowed by agreement or by motion at

 9   this time. The Parties will continue to discuss mechanisms to expedite the presentation of

10   evidence at trial.

11       XV.      Scheduling

12            *Point of Impasse*

13            The Parties respectively propose the case schedules and deadlines set forth below. The

14   Parties have shaded in green the events and deadlines on which they agree. Unless otherwise

15   specified, days will be computed according to Rule 6(a) of the Federal Rules of Civil Procedure.

16            A key point of disagreement between the Parties is the trial date. This threshold

17   dispute—described in further detail below—drives much of the Parties’ disagreement over

18   interim deadlines in the proposed case schedules, including the duration of discovery and pretrial

19   deadlines.

20
      Event                                         Plaintiff’s Proposal           Defendants’ Proposal
21
      Complaint Filed                               Jan. 30, 2025                  Jan. 30, 2025
22
      Answers Filed                                 Feb. 10, 2025                  Feb. 10, 2025
23
      Discovery Begins                              Feb. 14., 2025                 Feb. 14, 2025
24

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                          JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                         Case No. 5:25-cv-00951-PCP
 1
     Event                                       Plaintiff’s Proposal     Defendants’ Proposal
 2
     Plaintiff Produce Investigative File        No later than Feb. 20,   No later than Feb. 20,
 3                                               2025                     2025

 4   Any other parties must be joined or the     Feb. 28, 2025            Feb. 28, 2025
     pleadings amended
 5
     Parties exchange preliminary trial fact     Mar. 14, 2025            Mar. 14, 2025
 6   witness lists

 7   Parties exchange designations of the        May 9, 2025              April 4, 2025
     field of expertise for all experts they
 8   intend to call in their respective case-
     in-chief and defense case
 9
     Close of Fact Discovery                     May 23, 2025             April 10, 2025
10
     Parties serve initial expert reports on     May 30, 2025             April 11, 2025
11   the issues on which the Parties bear the
     burden
12
     Parties exchange final trial fact witness   May 30, 2025             April 18, 2025
13   lists

14   Parties to serve any rebuttal expert        June 20, 2025            May 2, 2025
     reports to the initial expert reports
15
     Close of Supplemental Fact Discovery        June 20, 2025            May 2, 2025
16
     Parties to serve any reply expert reports July 11, 2025              May 9, 2025
17   to the rebuttal expert reports
18   Parties exchange exhibit lists              July 18, 2025            May 8, 2025
     (including redacted versions of such
19   exhibits, as set forth in the Protective
     Order) and opening deposition
20
     designations
21
     Deadline for expert depositions and         July 25, 2025            May 21, 2025
22   close of expert discovery

23

24

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                        JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                       Case No. 5:25-cv-00951-PCP
 1
     Event                                     Plaintiff’s Proposal   Defendants’ Proposal
 2
     Parties exchange of objections to         July 25, 2025          May 16, 2025
 3   exhibit lists (including redacted
     versions of any exhibits identified by
 4   the opposing Party that contain
     information the Party previously
 5   designated as Confidential or Highly
     Confidential Information and
 6   objections to redactions that were
     initially exchanged with the exhibit
 7   lists, as set forth in the Protective
     Order), objections to deposition
 8   designations, and/or counters to
     deposition designations
 9
     Each Party informs each non-party of       July 29, 2025         May 9, 2025
10   all documents produced by that non-
     party that are on the Party’s exhibit list
11   and all depositions of that non-party
     that have been designated by any Party;
12
     Parties must inform non-parties that
13   they should provide notice to the
     Parties, pursuant to Paragraph 49 of the
14   Protective Order, of whether that non-
     party objects to the potential public
15   disclosure at trial of that non-party’s
     documents and depositions, explain the
16   basis for any such objections, and
     propose redactions where possible
17
     Parties serve expert witness lists,       Aug. 1, 2025           May 22, 2025
18   including designations of all experts
     that each intends to call in its
19   respective case, along with a brief
     statement of the subject matter on
20   which the expert will testify
21   Each side exchanges its objections to     Aug. 1, 2025           May 23, 2025
     the other side’s deposition counter-
22   designations
23

24

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                       JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                      Case No. 5:25-cv-00951-PCP
 1
     Event                                        Plaintiff’s Proposal     Defendants’ Proposal
 2
     Any Party or non-party Protected        Aug. 5, 2025                  May 19, 2025
 3   Person that seeks to prevent its
     Confidential Information or Highly
 4   Confidential Information contained in a
     trial exhibit or designated deposition
 5   testimony from being disclosed on the
     public record at Trial must file a
 6   motion with the Court seeking to seal
     such information
 7
     Parties meet and confer regarding            Aug. 6 - Aug. 15, 2025   May 23 - May 28, 2025
 8   disputes about trial exhibits and
     deposition designations, including
 9   confidentiality of any Party and non-
     party documents or depositions
10
     Deadline for filing motions in limine        Aug. 12, 2025            May 23, 2025
11   and Daubert motions
12   Joint Party Submission to Court              Aug. 19, 2025            May 29, 2025
     regarding disputes about admissibility
13   of trial exhibits, confidentiality issues,
     and deposition designations
14
     Pre-trial briefs and proposed findings       Aug. 19, 2025            May 30, 2025
15
     of fact and conclusions of law to be
16   filed (in a format to be directed by the
     Court)
17
     Responses to any motions in limine or        Aug. 26, 2025            May 30, 2025
18   Daubert motions

19   Final pre-trial conference                   Sept. 2, 2025            June 2, 2025

20   Parties submit final trial exhibits to       Sept. 3, 2025            June 11, 2025
     Court (in a format to be directed by the
21   Court)

22   Trial begins                                 Sept. 8, 2025            June 16, 2025

23   Post-trial briefs and proposed findings      10 days after trial      10 days after trial
     of fact and conclusions of law to be         concludes                concludes
24   filed (in a format to be directed by the
     Court)
25
                                                      -19-

                        JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                       Case No. 5:25-cv-00951-PCP
 1           Plaintiff’s Position. Plaintiff proposes a fast-paced schedule that provides a reasonable time

 2   to conduct discovery and develop a full factual record while permitting trial to begin 221 days after

 3   the complaint was filed—the exact average of merger challenges brought by the Department of

 4   Justice over the past five years. See Plaintiff’s Exhibit A. Defendants propose slicing nearly three

 5   months off that already aggressive timeline, but fail to substantiate their claim that such a truncated

 6   schedule is needed. Their schedule should be rejected.

 7           Defendants tie their schedule to October 9, the self-imposed date on which they have the

 8   option to terminate the acquisition, but they have never provided concrete facts as to why that date

 9   is set in stone. On three separate occasions—including earlier this week—Plaintiffs asked for

10   specific information as to why the option date cannot be extended. Defendants declined each

11   invitation, merely saying that the option date “cannot be easily moved.” See ECF No. 47, Ex. D &

12   E. Defendants’ silence on specifics is telling, and therefore, the Court should not be bound by it.

13   In the past two weeks, two other federal courts have rejected the same arguments that Defendants

14   make here. See U.S. v. Global Business Travel Group, Inc., No. 1:25CV215, (S.D.N.Y. Feb. 13,

15   2025) (ECF Nos. 28, 49) (ordering trial to begin 241 days after the complaint over objection by

16   defendants claiming “manifest injustice” to merging parties); U.S. v. UnitedHealth Group, Inc.,

17   No. 24-3267, (D. Md. Feb. 19, 2025) (ECF Nos. 73, 108) (ordering trial to begin 349 days after

18   the complaint and making no commitment “to issuing any ruling on or before [defendants’ option

19   date]”).

20           Even if Defendants’ self-imposed option date cannot be easily moved, it is not a sufficient

21   basis to prejudice Plaintiff. Plaintiff is entitled to liberal discovery because of “the important public

22   interest involved” in government antitrust enforcement. FTC v. Amazon.com, Inc., 2024 WL

23   5238834, at *1 (W.D. Wash. Dec. 27, 2024). Defendants’ proposed schedule would require 50

24   depositions in 29 business days (starting Feb. 28); permit only one day between the close of fact

25   discovery and the exchange of expert reports; and condense three rounds of expert reports into 20
                                                       -20-

                         JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                        Case No. 5:25-cv-00951-PCP
 1   business days, including a seven calendar-day turnaround for reply reports. Such demands are

 2   unrealistic. The Court should adopt Plaintiff’s schedule which permits a swift decision, on a full

 3   record, without prejudice to either party.

 4          Defendants’ Position. Defendants respectfully request that the Court set a trial date that

 5   leaves sufficient time for the Court to issue an opinion before the Oct. 9, 2025 merger

 6   termination date. Consistent with the Court’s direction at the Feb. 14, 2025 conference,

 7   Defendants have continued to attempt to reach agreement with Plaintiffs on a trial date. On Feb.

 8   19, 2025, Defendants offered a compromise July 14, 2025 trial date. Plaintiff summarily rejected

 9   July 14 as not “workable” without providing a reason or proposing an alternative to its Sept. 8,

10   2025 trial date.

11          Plaintiff’s Sept. 8 trial date is unreasonable. Plaintiff conducted an extensive

12   investigation yet now claims that it needs more time in this straightforward merger challenge.

13   (ECF 47; 51). A Sept. 8 trial date threatens Defendants’ termination date, requiring the Court to

14   issue an opinion within a week. Because of the real-world impact of merger challenges, courts

15   recognize that “prompt resolution” is appropriate. See, e.g., United States v. US Airways Group,

16   Inc., 979 F.Supp.2d 33, 33 (D.D.C. 2013) (setting expedited schedule). Contrary to Plaintiff’s

17   assertion, the termination date is not easily moved. It is just one provision in a heavily negotiated

18   $14 billion agreement. Renegotiating the agreement would only prolong uncertainty for

19   employees and customers of both companies, risk financing for the acquisition, and may

20   ultimately prove unsuccessful.

21      Defendants’ June 16 proposal represents a realistic schedule in line with normal merger

22   practice that enables both sides to adequately prepare for trial. Defendants’ Exhibit B shows that

23   even ignoring factual distinctions, the average time to trial in DOJ merger challenges over the

24   past decade is 178 days. Cases where trial was set beyond seven months (210+ days), as

25   Plaintiff proposes, are readily distinguishable. For example, the parties stipulated to a later date
                                                      -21-

                         JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                        Case No. 5:25-cv-00951-PCP
 1   (Bertelsmann) or there were other distinguishable circumstances (JetBlue). Discovery has

 2   commenced, and Defendants are prepared to try this case on a typical expedited schedule.

 3      XVI. Expedited Trial Procedures

 4          The Parties believe that this case is not suitable for handling under the Expedited Trial

 5   Procedure of General Order No. 64.

 6      XVII. Trial

 7          This case will be tried to the court. Plaintiff expects the trial to last ten to twelve trial

 8   days. Defendants expect the trial to last no more than eight to ten trial days.

 9      XVIII. Disclosure of Non-party Interested Entities or Persons

10          The United States is not required to file a Certification of Interested Entities or Persons

11   under Civil Local Rule 3-15. Pursuant to Civil L.R. 3-15, HPE filed its certification of Interested

12   Entities or Persons (Dkt. No. 7), which discloses that as of the date of the filing, there is no such

13   interest to report. HPE has no parent corporation and no publicly held corporation owns 10% or

14   more of its stock. Juniper filed its certification of Interested Entities or Persons (Dkt. No. 15),

15   which discloses that as of the date of the filing Juniper has no public parent corporation and one

16   publicly held corporation, The Vanguard Group, owns 10% or more of Juniper’s stock.

17      XIX. Professional Conduct

18          All attorneys of record for the Parties have reviewed the Guidelines for Professional

19   Conduct for the Northern District of California.

20      XX.     Other Matters

21              A. Witness Lists

22          The United States is limited to 25 persons (excluding experts) on its preliminary trial fact

23   witness list, and the Defendants collectively are limited to 25 persons (excluding experts) on

24   their preliminary trial fact witness list. The preliminary trial fact witness lists must comply with

25   Federal Rule of Civil Procedure 26(a)(3)(A)(i)–(ii) and include the name, employer, address, and
                                                      -22-

                         JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                        Case No. 5:25-cv-00951-PCP
 1   telephone number of each witness, as well as counsel’s contact information for third-party

 2   witnesses. With respect to third parties for which depositions are not complete, such third parties

 3   can be identified in a corporate capacity until the depositions take place.

 4              The United States is limited to 25 persons (excluding experts) on its final trial fact

 5   witness list, and the Defendants collectively are limited to 25 persons (excluding experts) on

 6   their final trial witness list. Each side’s final trial fact witness list may identify no more than 5

 7   fact witnesses that were not identified on that side’s preliminary trial fact witness list. Despite

 8   the limitation on the number of depositions that each side may take, each side shall have the right

 9   to depose any witness on the opposing side’s final fact witness list if that witness has not already

10   been deposed in this litigation, even if the limitation on depositions is exceeded. The final trial

11   witness lists must comply with Federal Rule of Civil Procedure 26(a)(3)(A)(i)–(ii) and include

12   the name, employer, address, and telephone number of each witness, as well as counsel’s contact

13   information for third-party witnesses.

14              Consistent with the schedule proposed in Paragraph XV, the Parties will also exchange

15   expert witness lists. Each side’s expert witness list will designate all experts that each side

16   intends to call at trial, along with a brief statement of the subject matter on which the expert will

17   testify.

18              In preparing preliminary trial fact witness lists, final trial fact witness lists, and expert

19   witness lists the Parties must make good-faith attempts to identify the witnesses whom they

20   expect that they may present as live witnesses at trial (other than solely for impeachment). No

21   Party may offer into evidence at trial any portion of a person’s deposition testimony unless that

22   person was identified on that Party’s final trial witness list. No Party may call a person to testify

23   as a live witness at trial (other than solely for impeachment) unless that person was identified on

24   that Party’s final trial witness list.

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                                                          -23-

                            JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                           Case No. 5:25-cv-00951-PCP
 1              B. Completion of Planned Transaction

 2          Defendants have agreed that they will not close, consummate, or otherwise complete the

 3   Proposed Transaction until 12:01 a.m. on the 5th day following the entry of the judgment by the

 4   Court in this matter, and only if the Court enters an appealable order that does not prohibit

 5   consummation of the transaction. For purposes of this Order, “Proposed Transaction” means the

 6   proposed acquisition of Juniper by Hewlett-Packard Enterprise Company.

 7              C. Nationwide Service of Subpoenas

 8          To assist the Parties in planning discovery, and in view of the geographic dispersion of

 9   potential witnesses in this action outside this District, the Parties are permitted, under 15 U.S.C.

10   § 23, to issue nationwide discovery and trial subpoenas from this Court. The availability of

11   nationwide service of process, however, does not make a witness who is otherwise “unavailable”

12   for purposes of Federal Rule of Civil Procedure 32 and Federal Rule of Evidence 804 available

13   under those rules or otherwise affect the admissibility at trial of a deposition of a witness.

14              D. Service of Pleadings and Discovery on Other Parties

15          Service of all pleadings, discovery requests (including subpoenas for testimony or

16   documents under Federal Rule of Civil Procedure 45), and delivery of all correspondence in this

17   matter, other than expert backup materials, must be made by ECF or email, except when the

18   volume of attachments requires delivery via secure file transfer, to the following individuals

19   designated by each Party:

20          For Plaintiff the United States:
                       Michael J. Freeman (Michael.Freeman@usdoj.gov)
21                     Craig Conrath (Craig.Conrath@usdoj.gov)
                       Jeremy Goldstein (Jeremy.Goldstein@usdoj.gov)
22                     Elizabeth S. Jensen (Elizabeth.Jensen@usdoj.gov)
                       U.S. Department of Justice, Antitrust Division
23                     450 Golden Gate Avenue, Suite 10-0101
                       San Francisco, CA 94102
24                     Tel: (415) 934-5300
25
                                                      -24-

                         JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                        Case No. 5:25-cv-00951-PCP
 1          For Defendant Hewlett Packard Enterprise Co.:
                     Julie Elmer (julie.elmer@freshfields.com)
 2                   Jennifer Mellott (jennifer.mellott@freshfields.com)
                     Connie Forkner (constance.forkner@freshfields.com)
 3                   Sara Salem (sara.salem@freshfields.com)
                     Lauren Vaca (lauren.vaca@freshfields.com)
 4                   Freshfields US LLP
                     700 13th Street, NW, 10th Floor
 5                   Washington, DC 20005-3960
                     Tel: (202) 777-4500
 6

 7          For Defendant Juniper Networks, Inc.:
                     Steven C. Sunshine (steve.sunshine@skadden.com)
 8                   Tara Reinhart (tara.reinhart@skadden.com)
                     Ryan Travers (ryan.travers@skadden.com)
 9                   Maria Raptis (maria.raptis@skadden.com)
                     Joseph M. Rancour (joseph.rancour@skadden.com)
10                   Skadden, Arps, Slate, Meagher & Flom LLP
                     1440 New York Ave., NW
11                   Washington, DC 20005
                     Tel.: (202) 371-7000
12

13          Service of expert backup materials will be made utilizing a secure file transfer system as

14   provided in Paragraph VIII.9.

15          This list of designated individuals may be modified by unilateral request of either Party.

16          For purposes of calculating discovery response times under the Federal Rules of Civil

17   Procedure, electronic delivery at the time the email was sent will be treated in the same manner

18   as hand delivery at that time. However, for any service other than service of court filings, email

19   service that is delivered after 9:00 p.m. Pacific Time will be treated as if it was served the

20   following business day.

21              E. Evidence from a Foreign Country

22          Before any Party may offer documentary or testimonial evidence from an entity or person

23   located in a foreign country, the other side must be afforded an opportunity by the entity or person

24   (or both, when applicable) to obtain documentary and deposition discovery. For any non-party

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                                                      -25-

                         JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                        Case No. 5:25-cv-00951-PCP
 1   witness who resides outside the United States and is included on the witness lists of any Party, any

 2   deposition of that witness may be conducted via remote means and any such deposition may be

 3   conducted under United States law. For any Party witness who resides outside the United States,

 4   is an executive of a Party, and is included on the witness lists of any Party, that witness will be

 5   produced by the Party for a deposition under United States law.

 6          Each Party agrees that its litigation counsel in this action will accept service of a deposition

 7   notice on behalf of any witness who is an executive of a Party, the Party’s subsidiary, or an affiliate

 8   of the Party and who resides or is located outside the United States, without requiring additional

 9   or different procedures to be followed pursuant to the Hague Evidence Convention, or any other

10   applicable convention, treaty, law, or rule. In addition, each Party agrees to make each such

11   witness available for either a remote deposition or an in-person deposition in the United States at

12   a location convenient for the individual and as agreed to by the Parties.

13          For the avoidance of doubt, nothing in this provision precludes a Party from moving for a

14   protective order under the Federal Rules of Civil Procedure.

15              F. Modification of Discovery Order

16          Modifications of the rights and responsibilities of the Parties under this Order may be

17   made by mutual agreement of the Parties, provided any such modification has no effect on the

18   schedule for pretrial filings or trial dates. Otherwise, any Party may seek modification of this

19   Order for good cause.

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                         JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                        Case No. 5:25-cv-00951-PCP
 1   Dated: February 21, 2025                   /s/ Michael J. Freeman
                                                Michael J. Freeman
 2                                              Senior Litigation Counsel
                                                U.S. Department of Justice
 3                                              450 Fifth Street, NW, Suite 4000
                                                Washington, DC 20530
 4                                              Telephone: (212) 213-2774
                                                Fax: (202) 514-5847
 5                                              Michael.Freeman@usdoj.gov
                                                Attorneys for Plaintiff United States
 6

 7
     Dated: February 21, 2025                   /s/ Julie Elmer
 8                                              Julie Elmer
                                                Jennifer Mellott
 9
                                                Freshfields US LLP
10                                              700 13th Street, NW, 10th Floor
                                                Washington, DC 20005-3960
11                                              (202) 777-4500
                                                julie.elmer@freshfields.com
12                                              jennifer.mellott@freshfields.com

13                                              Beth A. Wilkinson (pro hac vice)
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14                                              2001 M Street NW, 10th Floor
                                                Washington, DC 20036
15                                              (202) 847-4010
                                                bwilkinson@wilkinsonstekloff.com
16
                                                Samuel G. Liversidge (CA No. 180578)
17                                              Gibson Dunn & Crutcher LLP
                                                333 South Grand Avenue
18
                                                Los Angeles, CA 90071-3197
19                                              (213) 229-7000
                                                sliversidge@gibsondunn.com
20                                              Attorneys for Defendant Hewlett Packard
                                                Enterprise Co.
21

22   Dated: February 21, 2025                   /s/ Steve C. Sunshine
                                                Steven. C. Sunshine
23                                              Tara Reinhart
                                                Skadden, Arps, Slate, Meagher & Flom LLP
24                                              1440 New York Avenue, NW
                                                Washington, DC 20005
25                                              (202) 371-7000
                                             -27-

                     JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                    Case No. 5:25-cv-00951-PCP
 1                                              steve.sunshine@skadden.com
                                                tara.reinhart@skadden.com
 2                                              Attorneys for Defendant Juniper Networks,
                                                Inc.
 3

 4

 5   PURSUANT TO STIPULATION, IT SO ORDERED.
 6

 7   Dated: ________________                        _____________________________
                                                    HONORABLE P. CASEY PITTS
 8                                                  United States District Judge
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                     JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                    Case No. 5:25-cv-00951-PCP
 1
                                        ATTORNEY ATTESTATION
 2         I, Julie Elmer, am the ECF user whose identification and password are being used to file
 3   the JOINT STIPULATION AND [PROPOSED] ORDER. In compliance with Local Rule 5-

 4   1(i)(3), I hereby attest that all signatories hereto concur in this filing.

 5
                                                  /s/ Julie Elmer
 6

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                          JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                         Case No. 5:25-cv-00951-PCP
